Case 4:14-cv-00504-GKF-PJC Document 72-25 Filed in USDC ND/OK on 04/15/16 Page 1 of 3




        Calls (CCPFA 1846) Vol 3          6/12/2015                       1

          1

          2

          3

          4

          5

          6                    ***ATTORNEY WORK PRODUCT***

          7

          8

          9                            AUDIO TRANSCRIPT

         10                                  VOLUME 3

         11                                      of

         12                  Calls 918-808-4398 (CCPFA 1846)

         13

         14            rc-20140606-160948-Jail@Dl-9182271045-
                                   9188084398-1. wav
         15
                                             through
         16
                 rc-20140619-110544-Jail@Bookingphone2-9182271022-
         l7                       9188084398-1.wav

         18

         19

         20

         21

         22

         23

         24

         25    TRANSCRIBED BY:        Becky C. Dame, CSR, RPR



                         Professional Reponers
                     - - - - -800.376.1006 - - - - -
                                   www.proreportera..com



                                                                    EXHIBIT 26
Case 4:14-cv-00504-GKF-PJC Document 72-25 Filed in USDC ND/OK on 04/15/16 Page 2 of 3

     Calls (CCPFA 1846) Vol 3          6/12/2015                                  3

       1

       2                              (File No. 44)

       3            rc-20140606-160948-Jail®Dl-9182271045-

       4                            9188084398-1.wav

       5                  RECORDING:      Hello.        You have a prepaid

       6    card call from:

       7                  JEREMY:    Your husband.

       8                  RECORDING:      An inmate at the Creek County

       9    jail.    This call may be monitored or recorded.                Any

      10    attempt to connect -- this call may be monitored or

      11    recorded.

      12                 ANGELA:     Finally.

      13                  JEREMY:    Hi, beautiful.

      14                 ANGELA:     Hi, baby.          What's going on?

      15                  JEREMY:     I got time for five.         I got to go

      16    back in two weeks, the 25th, here at the jailhouse,

      17    and I sign for my probation.                I took five years

      18    probation.

      19                 ANGELA:     Why did you take that?

      20                  JEREMY:    Because they wanted me to do 120

      21    days in here, and I ain't doing 120 days.

      22                 ANGELA:     He told me 90.

      23                  JEREMY:    He read the paper wrong.          It was

      24    120.    And when he asked me that, I said, "No, I'll

      25    take the five."


                     Professional Reporters
                   - - - - - 800.376.1006
                                www.prot~porters. com
Case 4:14-cv-00504-GKF-PJC Document 72-25 Filed in USDC ND/OK on 04/15/16 Page 3 of 3

    Calls (CCPFA 1846) Vol 3             6/12/2015                            129

       1    jail.    This call may be monitored or recorded.            Any

       2   attempt to connect a third party will result in the

       3    immediate termination of your call.
       4                 Press 1 to accept this call.        Press 4 to

       5   hear possible charges for -- this call may be

       6   monitored or recorded.
       7                ANGELA:     Hi, baby.

       8                 JEREMY:    Hey, you beautiful thing.       What

       9   are you doing?

      10                ANGELA:     Waiting on you to call me.

      11                 JEREMY:    Waiting on you to call me, huh?

      12                ANGELA:     Yeah.

      13                 JEREMY:    Well, I love you.

      14                ANGELA:      I   love you too.   What's going on?

      15                 JEREMY:    Oh, nothing much.      Just sitting

      16   here.    What are you doing?

      17                ANGELA:     Did they come get that guy last

      18   night?

      19                 JEREMY:    Yeah.      They come and got him and

      20    took him out and asked him a few questions and shit

      21   and brought him back.            They sentenced him today.
      22                ANGELA:     Oh.      What did they give him?

      23                 JEREMY:    36 years violent .
      24                ANGELA:     What?

      25                 JEREMY:    Yeah.      He's going to spend the


                    Professional Reporters
                 - - - - - 800.376.1006
                               www.proraporters..com
